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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
       v.                                  ) CASE NO. 3:16-CR-433-WKW
                                           )             [WO]
 WALTER ADAM WILLIS                        )

                                      ORDER

      Before the court is Defendant’s pro se motion for early termination of

supervised release. (Doc. # 30.) The Government, after consultation with Mr.

Willis’s supervising probation officer, does not oppose the motion. (Doc. # 33.) For

the reasons to follow, the motion is due to be granted.

      Under 18 U.S.C. § 3583(e)(1), the court may terminate a term of supervised

release under specified conditions. The defendant must have completed one year of

supervised release, and the court must find, after considering various factors in 18

U.S.C. § 3553(a), that “such action is warranted by the conduct of the defendant

released and the interest of justice.” § 3583(e)(1).

      Mr. Willis has served more than three years of his five-year term of supervised

release. The court also has weighed the applicable § 3553(a) factors—particularly

the nature and circumstances of Mr. Willis’s offense and his history and

characteristics. After fully considering the statutory requirements, and there being
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no objection to the motion, the court finds that the interest of justice and the totality

of Mr. Willis’s conduct warrant early termination of his term of supervised release.

      Accordingly, it is ORDERED that Mr. Willis’s motion for early termination

of supervised release (Doc. # 30) is GRANTED and that his previously imposed

term of supervised release is TERMINATED as of this date.

      DONE this 27th day of October, 2021.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE




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